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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No: 1:17-cv-60426-UU
ALEKSEJ GUBAREYV, et al.,

Plaintiffs,
Vv.

BUZZFEED, INC., et al.,

Defendants.

DECLARATION OF NATHAN SIEGEL IN OPPOSITION TO
PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

I, Nathan Siegel, pursuant to 29 U.S.C. § 1746, hereby declare as follows:

1. I am a partner at the law firm of Davis Wright Tremaine LLP, counsel for
Defendants BuzzFeed, Inc. and Ben Smith in the above-captioned proceeding.

2. I make this declaration in order to annex exhibits relied upon in Defendants’
Memorandum of Law in opposition to Plaintiff's Motion for Summary Judgment.

3. Annexed hereto as Exhibit 1 is a true and correct copy of Exhibit 20 to the
Deposition of Nikolay Dvas.

4, Annexed hereto as Exhibit 2 is a true and correct copy of Exhibit 21 to the
Deposition of Nikolay Dvas.

5. Annexed hereto as Exhibit 3 is a true and correct copy of XBT’s September 25,

2015 press release printed from the website at https:// finance. yahoo.com/news/servers-com-

expanding-russia-050000657.html.

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6. Annexed hereto as Exhibit 4 is a true and correct copy of the CrunchBase entry

for Servers.com, printed from the website at https://www.crunchbase.com/organization/servers-

com#section-recent-news-activity.

7. Attached hereto as Exhibit 5 is a true and correct copy of relevant excerpts from
the transcript of the May 3, 2018 deposition of Konstyantyn Bezruchenko.

8. Attached hereto as Exhibit 6 is a true and correct copy of a November 1, 2016
op-ed by Jennifer Rubin for the Washinton Post, printed from the website at

https://www.washingtonpost.com/blogs/right-turn/wp/2016/11/01/trumps-putin-problem-returns-

in-a-big-way.
9. Attached hereto as Exhibit 7 is a true and correct copy of a September 21, 2018
article by Kevin G. Hall for McClatchy, printed from the website at

https://www.mceclatchydc.com/latest-news/article2 18740565.html.

10. Attached hereto as Exhibit 8 is a true and correct copy of relevant excerpts from
the transcript of the August 30, 2018 Rule 30(b)(6) Deposition of Fusion GPS.

11. Attached hereto as Exhibit 9 is a true and correct copy of the complaint filed
April 16, 2018 in the case of Fridman et al. v. Orbis Business Intelligence Ltd. et ano., No. 2018
CA 002667 B (D.C. Super.).

12. Attached hereto as Exhibit 10 is a true and correct copy of the complaint filed
October 3, 2017 in the case of Fridman et al. v Bean LLC a/k/a/ Fusion GPS et ano., No. 17-cv-
02041 (D.D.C.).

13. Attached hereto as Exhibit 11 is a true and correct copy of the complaint filed
May 26, 2017 in the case of Fridman et al. v. BuzzFeed, Inc. et al., Index No. 154895/2017 (Sup.

Ct. N.Y. Cnty.).
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I declare under penalty of perjury that the foregoing is true and correct.

Executed on October 1, 2018 in Washington, District of Columbia.

Nathan Siegel

